      2:25-cv-03783-DCN             Date Filed 06/19/25    Entry Number 14        Page 1 of 2

                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF SOUTH CAROLINA
                                             (Charleston Division)

FORTRA LLC and ECRIME                                     C/A No.: 2:25-cv-03783-DCN
MANAGEMENT STRATEGIES INC.,
d/b/a PHISHLABS,
                                                              Motion in Support of
                      Plaintiffs,                           Pro Hac Vice Application
                                                              Robert Reese Onate
              v.

DOPPEL INC. and PATRICK LELAND,

                      Defendants.


       The undersigned local counsel hereby moves, together with the attached Application and
Affidavit, that Robert Reese Onate be admitted pro hac vice in the above-captioned case as
associate counsel. As local counsel, I understand that:

1.     I will personally sign and include my District of South Carolina federal bar attorney
       identification number on each pleading, motion, discovery procedure, or other document
       that I serve or file in this court; and
2.     All pleadings and other documents that I file in this case will contain my name, firm
       name, address, and phone number and those of my associate counsel admitted pro hac
       vice; and
3.     Service of all pleadings and notices as required shall be sufficient if served upon me, and
       it is my responsibility to serve my associate counsel admitted pro hac vice; and
4.     Unless excused by the court, I will be present at all pretrial conferences, hearings, and
       trials and may attend discovery proceedings. I will be prepared to actively participate if
       necessary.
5.     Certification of Consultation (Local Civil Rule 7.02).
                Prior to filing this Motion, I conferred with opposing counsel who has indicated
                the following position as to this Motion: will likely oppose; does not intend
                to oppose

              Prior to filing this Motion, I attempted to confer with opposing counsel but was
              unable to do so for the following reason(s):
              __________________________________________________________________
              __________________________________________________________________


              No duty of consultation is required because the opposing party is proceeding pro
se.
     2:25-cv-03783-DCN       Date Filed 06/19/25   Entry Number 14      Page 2 of 2



                                         Local Counsel for Defendant Doppel Inc.

                                         s/John P. Linton, Jr.
                                         John P. Linton, Jr.
                                         Federal Bar Number 11089
                                         WALKER GRESSETTE & LINTON, LLC
                                         P.O. Box Drawer 22167
                                         Charleston, SC 29413
                                         (843) 727-2252
                                         Linton@wglfirm.com

Charleston, South Carolina
June 19, 2025
